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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

vs                     CASE NO. 4:10CR00013-01, 03, 08 BSM

JOE LEWIS BRANDON, JR.,
FREDERICK LAMOND TAYLOR,
and OTIS LESLEY HILL                                                     DEFENDANTS

                                         ORDER

       For reasons stated on the record on October 3, 2012, the guilty plea entered on

September 28, 2012, as to defendant Joe Lewis Brandon, Jr., and the guilty pleas entered on

October 1, 2012, as to defendants Frederick Lamond Taylor and Otis Lesley Hill are hereby

set aside. The defendants’ trial is set for November 5, 2012.

       IT IS SO ORDERED this 3rd day of October 2012.




                                                 UNITED STATES DISTRICT JUDGE
